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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,

                             Plaintiff,
                                                        Case No. 20-CV-10832 (AT) (SN)
       v.

RIPPLE LABS INC., BRADLEY
GARLINGHOUSE, and CHRISTIAN
A. LARSEN,

                             Defendants.




             DECLARATION OF MICHAEL K. KELLOGG IN SUPPORT OF
            DEFENDANTS' MEMORANDUM OF LAW IN SUPPORT OF THEIR
                     MOTION FOR SUMMARY JUDGMENT


       I, Michael K. Kellogg, hereby declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746 as follows:

       1.     I am a partner at the law firm of Kellogg, Hansen, Todd, Figel & Frederick,

P.L.L.C., and counsel to Defendant Ripple Labs Inc. I submit this declaration in support of

Defendants' Memorandum of Law in Support of Their Motion for Summary Judgment.

       2.     Attached as Exhibit 1 to this declaration is a true and correct copy of the May 26,

2021 Deposition Transcript of David Schwartz.

       3.     Attached as Exhibit 2 to this declaration is a true and correct copy of the

Declaration of David Schwartz dated September 13, 2022.

       4.     Attached as Exhibit 3 to this declaration is a true and correct copy of the Expert

Report of Carol Osler dated October 4, 2021.
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       5.     Attached as Exhibit 4 to this declaration is a true and correct copy of the June 9,

2021 Deposition Transcript of Dinuka Samarasinghe.

       6.     Attached as Exhibit 5 to this declaration is a true and correct copy of the Expert

Report of Peter Adriaens dated October 4, 2021.

       7.     Attached as Exhibit 6 to this declaration is a true and correct copy of the July 22,

2021 Deposition Transcript of Phillip Rapoport.

       8.     Attached as Exhibit 7 to this declaration is a true and correct copy of the Osler

Deposition Exhibit 11.

       9.     Attached as Exhibit 8 to this declaration is a true and correct copy of the

September 14, 2021 Deposition Transcript of Christian A. Larsen.

       10.    Attached as Exhibit 9 to this declaration is a true and correct copy of the June 23,

2021 Deposition Transcript of Asheesh Birla.

       11.    Attached as Exhibit 10 to this declaration is a true and correct copy of the June

28, 2021 Deposition Transcript of Miguel Vias.

       12.    Attached as Exhibit 11 to this declaration is a true and correct copy of the Expert

Report of Allen Ferrell dated October 4, 2021.

       13.    Attached as Exhibit 12 to this declaration is a true and correct copy of the Expert

Rebuttal Report of Allen Ferrell dated Nov. 12, 2021.

       14.    Attached as Exhibit 13 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0258174.

       15.    Attached as Exhibit 14 to this declaration is a true and correct copy of the

Declaration of Christian Larsen dated September 9, 2022.




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       16.    Attached as Exhibit 15 to this declaration is a true and correct copy of the

O'Gorman Deposition Exhibit AO-26.

       17.    Attached as Exhibit 16 to this declaration is a true and correct copy of the

document bearing Bates number LARSEN NAT 00000165.

       18.    Attached as Exhibit 17 to this declaration is a true and correct copy of the

Declaration of Bradley Garlinghouse dated September 13, 2022.

       19.    Attached as Exhibit 18 to this declaration is a true and correct copy of the David

Schwartz Deposition Exhibit DS-15.

       20.    Attached as Exhibit 19 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0537730.

       21.    Attached as Exhibit 20 to this declaration is a true and correct copy of the

Declaration of Monica Long dated September 13, 2022.

       22.    Attached as Exhibit 21 to this declaration is a true and correct copy of the August

24, 2021 Deposition Transcript of Ethan Beard.

       23.    Attached as Exhibit 22 to this declaration is a true and correct copy of the July 20,

2021 Deposition Transcript of Ryan Zagone.

       24.    Attached as Exhibit 23 to this declaration is a true and correct copy of Plaintiff's

Answers & Objections to Defendants' First Set of Requests for Admission.

       25.    Attached as Exhibit 24 to this declaration is a true and correct copy of the June

17, 2021 Deposition Transcript of Monica Long.

       26.    Attached as Exhibit 25 to this declaration is a true and correct copy of the August

11, 2021 Deposition Transcript




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       27.     Attached as Exhibit 26 to this declaration is a true and correct copy of Plaintiff's

Answers & Objections to Defendants' Third Set of Requests for Admission.

       28.     Attached as Exhibit 27 to this declaration is a true and correct copy of the June

29, 2021 Deposition Transcript of Patrick Griffin.

       29.     Attached as Exhibit 28 to this declaration is a true and correct copy of the August

3, 2021 Deposition Transcript of Lawrence Angelilli.

       30.     Attached as Exhibit 29 to this declaration is a true and correct copy of the David

Schwartz Deposition Exhibit DS-70.

       31.     Attached as Exhibit 30 to this declaration is a true and correct copy of the

February 11, 2022 Deposition Transcript of Alan Schwartz.

       32.     Attached as Exhibit 31 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0507279.

       33.     Attached as Exhibit 32 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0153866.

       34.     Attached as Exhibit 33 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0066688.

       35.     Attached as Exhibit 34 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0154338.

       36.     Attached as Exhibit 35 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0511334.

       37.     Attached as Exhibit 36 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0507292.




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       38.     Attached as Exhibit 37 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0847167.

       39.     Attached as Exhibit 38 to this declaration is a true and correct copy of the May

18, 2021 Deposition Transcript of Breanne Madigan.

       40.     Attached as Exhibit 39 to this declaration is a true and correct copy of Plaintiff's

Supplemental Responses & Objections to Ripple's Interrogatories Nos. 1, 2, 3, 6, 7, 11, 17, 18,

19, 22, 23, and 24.

       41.     Attached as Exhibit 40 to this declaration is a true and correct copy of the Expert

Report of Alan Schwartz dated October 4, 2021.

       42.     Attached as Exhibit 41 to this declaration is a true and correct copy of the Expert

Report of Yesha Yadav dated October 4, 2021.

       43.     Attached as Exhibit 42 to this declaration is a true and correct copy of the

February 11, 2022 Deposition Transcript of Yesha Yaday.

       44.     Attached as Exhibit 43 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0507300.

       45.     Attached as Exhibit 44 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0537727.

       46.     Attached as Exhibit 45 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0668885.

       47.     Attached as Exhibit 46 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0000517.

       48.     Attached as Exhibit 47 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0301016.




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      49.   Attached as Exhibit 48 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0609008.

      50.   Attached as Exhibit 49 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0609563.

      51.   Attached as Exhibit 50 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0676713.

      52.   Attached as Exhibit 51 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0304341.

      53.   Attached as Exhibit 52 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0608975.

      54.   Attached as Exhibit 53 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0890941.

      55.   Attached as Exhibit 54 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0898919.

      56.   Attached as Exhibit 55 to this declaration is a true and correct copy of the

document bearing Bates number GSR00010953.

      57.   Attached as Exhibit 56 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0899176.

      58.   Attached as Exhibit 57 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0899553.

      59.   Attached as Exhibit 58 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0633406.




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      60.   Attached as Exhibit 59 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0272291.

      61.   Attached as Exhibit 60 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0239684.

      62.   Attached as Exhibit 61 to this declaration is a true and correct copy of the

document bearing Bates number MONEYGRAM SEC 0005812.

      63.   Attached as Exhibit 62 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0000906.

      64.   Attached as Exhibit 63 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0895307.

      65.   Attached as Exhibit 64 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0314261.

      66.   Attached as Exhibit 65 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0265201.

      67.   Attached as Exhibit 66 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0576504.

      68.   Attached as Exhibit 67 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0863819.

      69.   Attached as Exhibit 68 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0609230.

      70.   Attached as Exhibit 69 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0609222.




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       71.    Attached as Exhibit 70 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0443186.

       72.    Attached as Exhibit 71 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0991609.

       73.    Attached as Exhibit 72 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0796371.

       74.    Attached as Exhibit 73 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0266000.

       75.    Attached as Exhibit 74 to this declaration is a true and correct copy of the

Amended Expert Report of                dated October 6, 2021.

       76.    Attached as Exhibit 75 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0042736.

       77.    Attached as Exhibit 76 to this declaration is a true and correct copy of the

September 20, 2021 Deposition Transcript of Bradley Garlinghouse.

       78.    Attached as Exhibit 77 to this declaration is a true and correct copy of the

Testimony of Brad Garlinghouse in the Matter of: Ripple Labs, Inc., File No. NY-09875-A.

       79.    Attached as Exhibit 78 to this declaration is a true and correct copy of the

document bearing Bates number RPLI 02156366.

       80.    Attached as Exhibit 79 to this declaration is a true and correct copy of the

document bearing Bates number RPLI SEC 0259758.

       81.    Attached as Exhibit 80 to this declaration is a true and correct copy of the

document bearing Bates number RPLI 01708774.




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       82.    Attached as Exhibit 81 to this declaration is a true and correct copy of a summary

exhibit describing XRP trades by or on behalf of Christian Larsen.

       83.    Attached as Exhibit 82 to this declaration is a true and correct copy of a summary

exhibit describing XRP trades by or on behalf of Bradley Garlinghouse.

       84.    Attached as Exhibit 83 to this declaration is a true and correct copy of Plaintiff's

Answers & Objections to Defendants' Fifth Set of Requests for Admission.

       85.    Attached as Exhibit 84 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000143.

       86.    Attached as Exhibit 85 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000150.

       87.    Attached as Exhibit 86 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000111.

       88.    Attached as Exhibit 87 to this declaration is a PDF formatted version of the

Native Excel file bearing Bates number GSR00000443.

       89.    Attached as Exhibit 88 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000118.

       90.    Attached as Exhibit 89 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000130.

       91.    Attached as Exhibit 90 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000124.

       92.    Attached as Exhibit 91 to this declaration is a true and correct copy of the

document bearing Bates number RPLI 01956976.




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      93.    Attached as Exhibit 92 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000137.

      94.    Attached as Exhibit 93 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000163.

      95.    Attached as Exhibit 94 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000099.

      96.    Attached as Exhibit 95 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000105.

      97.    Attached as Exhibit 96 to this declaration is a true and correct copy of the

document bearing Bates number NYRO RIPPLE RFA 000157.

      98.    Attached as Exhibit 97 to this declaration is a true and correct copy of the

document bearing Bates number GSR00008433.

      99.    Attached as Exhibit 98 to this declaration is a true and correct copy of the

document bearing Bates number GSR00001645.

      100.   Attached as Exhibit 99 to this declaration is a true and correct copy of the

document bearing Bates number GSR00000689.

      101.   Attached as Exhibit 100 to this declaration is a true and correct copy of the

document bearing Bates number GSR00000681.

      102.   Attached as Exhibit 101 to this declaration is a true and correct copy of the

document bearing Bates number GSR00021503.

      103.   Attached as Exhibit 102 to this declaration is a true and correct copy of the

document bearing Bates number LARSEN-SEC-LIT-00006428.




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       104.    Attached as Exhibit 103 to this declaration is a true and correct copy of Plaintiff's

Responses & Objections to Ripple's First Set of Interrogatories.

       105.    Attached as Exhibit 104 to this declaration is a true and correct copy the Expert

Report of                 dated October 4, 2021.

       106.    Attached as Exhibit 105 to this declaration is a true and correct copy of the Expert

Rebuttal Report of                 dated November 12, 2021.

       107.    Attached as Exhibit 106 to this declaration is a true and correct copy of the

Second Amended Expert Rebuttal Report of                      dated February 24, 2022.


       I hereby declare under the penalty of perjury that, to the best of my knowledge,

information, and belief, the foregoing is true and correct.


Dated: September 13, 2022
       Washington, D.C..


                                                      By:
                                                              /s/ Michael K. Kellogg
                                                              Michael K. Kellogg

                                                              KELLOGG, HANSEN, TODD,
                                                               FIGEL & FREDERICK, P.L .L.C.
                                                              Sumner Square
                                                              1615 M Street, N.W., Suite 400
                                                              Washington, D.C. 20036
                                                              +1 (202) 326-7900
                                                              mkellogg@kellogghansen.com




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